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                                  EXHIBIT F

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                                              Exhibit 3

                                   Class 5 Ballot
 UNITED STATES BANKRUPTCY COURT                            CONFIDENTIAL
 NORTHERN DISTRICT OF NEW YORK
                                                )
 In re:                                         )
                                                ) Case No. 20-30663
 The Roman Catholic Diocese of Syracuse, New )
 York,                                          ) Chapter 11
                                                )
                                      Debtor. )
                                                )

                   BALLOT FOR ACCEPTING OR REJECTING JOINT
                  CHAPTER 11 PLAN OF REORGANIZATION FOR THE
                  DIOCESE OF SYRACUSE DATED DECEMBER 6, 2023


BALLOT FOR: CLASS 5 – Abuse Claims

                   THE VOTING DEADLINE TO ACCEPT OR REJECT
                   THE JOINT PLAN IS 5:00 P.M., PREVAILING
                   EASTERN TIME, ON MARCH 15, 2024 (THE
                   “VOTING DEADLINE”), UNLESS EXTENDED BY
                   THE DIOCESE.

This ballot (the “Ballot”) is provided to you to solicit your vote to accept or reject the Joint Chapter
11 Plan of Reorganization for The Roman Catholic Diocese of Syracuse, New York dated
December 6, 2023 (the “Joint Plan”) in the captioned Chapter 11 Case. The Court has approved a
Disclosure Statement in Support of Joint Chapter 11 Plan of Reorganization for The Roman
Catholic Diocese of Syracuse, New York dated December 6, 2023 (the “Disclosure Statement”).

Copies of the Disclosure Statement and Joint Plan are provided to you with this Ballot and will
also be on file with the Office of the Clerk of the Court for review during normal business hours
(a fee may be charged) and are also available free of charge on the website maintained by the
Diocese’s claims agent at https://case.stretto.com/dioceseofsyracuse/docket.

All capitalized terms used but not defined herein have the meanings ascribed to such terms in the
Joint Plan. The Disclosure Statement provides information to assist you in deciding how to vote
on the Joint Plan. The Disclosure Statement provides information to assist you in deciding how to
vote on the Joint Plan. You should review the Disclosure Statement and the Joint Plan in their
entirety before you vote. You may wish to seek independent legal advice concerning the Joint
Plan and the classification and treatment of your Claim under the Joint Plan.




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The Joint Plan can be confirmed by the Bankruptcy Court, and thereby made binding on you if it
is accepted by the holders of at least two-thirds in amount and more than one-half in number of
the Claims voted in each Impaired Class, and if the Joint Plan otherwise satisfies the applicable
requirements of section 1129(a) of the Bankruptcy Code. If the requisite acceptances are not
obtained, the Bankruptcy Court may nonetheless confirm the Joint Plan if it finds that the Joint
Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate against, the
Class or Classes rejecting the Joint Plan, and (b) otherwise satisfies the requirements of section
1129(b) of the Bankruptcy Code. If the Joint Plan is confirmed by the Bankruptcy Court, it will
be binding on you whether or not you vote or if you vote to accept or reject the Joint Plan.

Please use this Ballot to cast your vote to accept or reject the Joint Plan if you are, as of February
6, 2024 (the “Voting Record Date”), a holder of a Class 5 Abuse Claim against the Diocese that
arose before the June 19, 2020 Petition Date.

This Ballot is to be used for voting by holders of Class 5 Abuse Claims. In order for your
vote to be counted, this Ballot must be properly completed, signed, and returned to
Bankruptcy Management Solutions, Inc. d/b/a Stretto (the “Voting Agent”) so that it is
actually received no later than 5:00 p.m. (prevailing Eastern time) on March 15, 2024 (the
“Voting Deadline”), unless such time is extended by the Diocese.

If you have any questions on how to properly complete this Ballot, please call the Voting Agent
at 855.329.4244 (Toll-Free), or email TeamSyracuseDiocese@stretto.com. THE VOTING
AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

This Ballot is solely for purposes of voting to accept or reject the Joint Plan and not for the
purpose of allowance or disallowance of, or distribution of account of, Class 5 Abuse
Claims.

SUBMISSION OF THIS BALLOT WILL BE KEPT CONFIDENTIAL CONSISTENT
WITH THE CONFIDENTIALITY PROTOCOL SET FORTH IN THE BAR DATE
ORDER ESTABLISHING APRIL 15, 2021 AS THE DEADLINE FOR FILING PROOFS
OF CLAIM AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF
[Docket No. 214].

                  INSTRUCTIONS FOR COMPLETING THE BALLOT

This Ballot is submitted to you to solicit your vote to accept or reject the Joint Plan. The terms
of the Joint Plan are described in the Disclosure Statement, including all exhibits thereto.
PLEASE READ THE JOINT PLAN AND THE DISCLOSURE STATEMENT
CAREFULLY BEFORE COMPLETING THIS BALLOT.

To have your vote counted, please complete, sign, and date this ballot and return it so that
it is received by the Voting Agent no later than the Voting Deadline. Ballots must be
delivered to the Voting Agent (i) at an appropriate address listed below; or (ii) via the
Voting Agent’s E-Ballot platform by visiting https://case.stretto.com/dioceseofsyracuse,
clicking on the “E-Ballot” link and following the instructions set forth on the website.
Holders of Claims entitled to vote are encouraged to submit their Ballot via the E-Ballot


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platform. Submit only one Ballot. If you choose to submit your Ballot via the E-Ballot
platform, DO NOT also submit a paper Ballot. Please choose only one method of
submitting your Ballot.




    Ballots may be submitted to:


                   If by first class mail, overnight courier, or hand delivery:

                       The Diocese of Syracuse Claims Processing
                       c/o Stretto
                       410 Exchange, Suite 100
                       Irvine, CA 92602

                   If by electronic, online submission:

                       Please visit https://case.stretto.com/dioceseofsyracuse and
                       click on the “E-Ballot” section of the Diocese’s website and
                       follow the directions to submit your E-Ballot. If you choose
                       to submit your Ballot via the Voting Agent’s E-Ballot system,
                       do not also return a paper Ballot.

                       IMPORTANT NOTE: You will need the following
                       information to retrieve and submit your customized
                       E-Ballot:

                       Unique E-Ballot ID#: ____________________

                       “E-Balloting” is the sole manner in which Ballots will be
                       accepted via electronic or online transmission. Ballots
                       submitted by facsimile or email will not be counted.

If the Joint Plan is confirmed by the Bankruptcy Court, the terms of the Joint Plan,
including, without limitation, the releases and injunctions set forth in Section 12 of the Joint
Plan will be binding on you whether or not you vote to accept or reject the Joint Plan.

The following Ballots will not be counted in determining the acceptance or rejection of the
Joint Plan: (i) any Ballot received after the Voting Deadline unless the Diocese, in writing,
granted an extension of the Voting Deadline with respect to such Ballot; (ii) any Ballot that
is illegible or contains insufficient information to permit the identification of the voter; (iii)
any Ballot cast by a person or entity that does not hold a Claim in a Class that is entitled to
vote to accept or reject the Joint Plan; (iv) any unsigned Ballot (for avoidance of doubt, a
Ballot submitted by the E-Ballot platform shall be deemed to bear an original signature);
and (v) any Ballot submitted by email, facsimile, or any other means of electronic submission
other than utilization of the E-Ballot Portal. An otherwise properly completed, executed,


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and timely returned Ballot failing to indicate either acceptance or rejection of the Joint Plan
or indicating both acceptance and rejection of the Joint Plan will not be counted.


To properly complete the Ballot, you must follow the procedures described below:

        a.     Make sure that the information contained in Item 1 is correct.

        b.     If you have a Class 5 Abuse Claim, cast one vote to accept or reject the Joint Plan
               by checking the appropriate box in Item 2.

        c.     If you hold Claims in more than one Class, you may receive more than one Ballot.
               Your vote will be counted in determining acceptance or rejection of the Joint Plan
               by a particular Class of Claims only if you complete, sign, and return the Ballot
               labeled for such Class of Claims in accordance with the instructions on that Ballot.
               Each Ballot votes only your Claims indicated on that Ballot. Please complete and
               return each Ballot you receive.

        d.     You must vote all your Claims within a single Class under the Joint Plan either to
               accept or reject the Joint Plan.

        e.     If more than one timely, properly completed Ballot is received, only the last
               properly completed Ballot received by the Voting Agent will be counted, unless the
               holder of the claim receives Bankruptcy Court approval otherwise.

        f.     If you believe that you have received the wrong Ballot, please contact the Voting
               Agent immediately.

        g.     Provide your name, mailing address, and any remaining information requested.

        h.     Sign and date your Ballot.

        i.     Return your Ballot with an original signature to the Voting Agent. For the
               avoidance of doubt, a Ballot submitted by the E-Ballot platform shall be deemed to
               bear an original signature.

No Ballot shall constitute or be deemed a proof of claim or an assertion of Claim.

In the event that (i) the Diocese revokes or withdraws the Joint Plan, or (ii) the Confirmation Order
is not entered or the Effective Date of the Joint Plan does not occur, this Ballot shall automatically
be null and void and deemed withdrawn without any requirement of affirmative action by or notice
to you.

IF YOU (A) HAVE ANY QUESTIONS REGARDING THIS BALLOT, (B) DID NOT
RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, (C) DID NOT RECEIVE A
COPY OF THE DIOCESE’S DISCLOSURE STATEMENT OR JOINT PLAN, OR
(D) NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED
MATERIAL, PLEASE CONTACT THE VOTING AGENT AT 855.329.4244 (TOLL-

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FREE), OR BY E-MAILING TEAMSYRACUSEDIOCESE@STRETTO.COM. PLEASE
DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT. THE VOTING
AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.


PLEASE COMPLETE THE FOLLOWING:
Item 1. Certification of Claim. For purposes of voting to accept or reject the Joint Plan, the
undersigned certifies that as of the Voting Record Date, the undersigned holds a Class 5 - Abuse
Claim against the Diocese. For voting purposes only, each Class 5 Claim is valued at $1.00. This
amount shall have no effect on the amount of any distribution a Class 5 Claim may receive from
the Trust.

Item 2.     Vote on the Joint Plan. Please take note that if you submit this Ballot to the voting
agent and either: (a) fail to indicate whether you are accepting or rejecting the Joint Plan, or
(b) check both boxes indicating that you are both accepting and rejecting the Joint Plan, your ballot
will not be counted in determining the acceptance or rejection of the Joint Plan.

The undersigned holder of a Class 5 - Abuse Claim against the Diocese as of the Voting Record
Date in the amount set forth in Item 1 above votes to:

                                        Check one box only:



  ACCEPT the Joint Plan.                            REJECT the Joint Plan.




Item 3       Acknowledgments and Certification.

By signing this Ballot, the holder of the Class 5 Abuse Claim set forth above certifies as follows:

   i.    I am the holder of a Class 5 Abuse Claim as of the Voting Record Date;

  ii.    I have received copies of the Disclosure Statement and the Joint Plan, including the
         Allocation Protocol and other exhibits thereto;

 iii.    I have reviewed and considered the treatment my Class 5 Abuse Claim will receive under
         the Joint Plan, as well as the release, injunction and exculpation provisions set forth in the
         Plan;

 iv.     I acknowledge that a vote to accept the Joint Plan constitutes an acceptance of the treatment
         provided to Class 5 Claims pursuant to the terms of the Joint Plan; and

  v.     I have the power and authority to cast this ballot as the holder of a Class 5 Abuse Claim.



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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the information supplied
in this ballot is true and correct, that I am personally casting this ballot on my own behalf, and
that I have authority under applicable law to cast this ballot.



                                                              Name of Abuse Claimant




                                                                     Signature


                                                                   Street Address


                                                                City, State, Zip Code


                                                                 Telephone Number


                                                                  Date Completed




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